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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION

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                                    *
UNITED STATES OF AMERICA,           *     CR 10-40007
                                    *
              Plaintiff,            *
                                    *
        vs.                         *              ORDER
                                    *
ANDRE GILBERT,                      *
a!k/a "Garbage," a/k/a "Ore;" and   *
JAMES MICHAEL WILBOURN,             *
a!k/a "Mike,"                       *
                                    *
              Defendants.           *
                                    *
******************************************************************************
       Defendant James Michael Wilbourn filed on August 20 through the 25 th , 2010, a Renewal
of Motion to Grant Sever Trials, Doc. 63, a Motion for Discovery Hearing, Doc. 64, a Motion for
Discovery Delay Initial Appearances Rule 5 of the Federal Rules of Criminal Procedure, Doc. 65,
and a Motion to Suppress Evidence, Doc. 66; and on September I, 20 I0, a Motion for Discovery
Speedy Trial Act Violation Rule 48(b) Federal Rules of Criminal Procedure, Doc. 67.
       Counsel for Defendant Andre Gilbert has filed a Third Motion for Continuance, Doc. 61,
requesting the Court continue the plea deadline and the trial date, and counsel for the Government
has no objection to the continuance. After consideration of the file in this matter, the Court finds
that failure to grant the continuance would deny counsel the reasonable time necessary for effective
preparation, taking into account the exercise of due diligence and further that failure to grant the
continuance would deny the public interest in bringing this case to trial in an orderly fashion.
Further, the Court finds that the ends of justice served by continuing this trial outweigh the best
interests ofthe public and the Defendants in a speedy trial. For all ofthose reasons as well as those
set forth in the Motion,


       IT IS ORDERED:

        1.     That opposing counsel shall respond to the pending motions of Defendant
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             Wilbourn on or before September 7, 2010; and a hearing thereon will be held
             before The Honorable John E. Simko, in Sioux Falls, South Dakota, on
             Monday, September 13, 2010, at 2:30 P.M.; and the Court will not consider
             a stock motion for leave to file further motions, however, the Court will
             consider a motion filed by a party after the deadline if the party can show
             good cause as to why the motion was late filed.

      2.     That the Defendant Andre Gilbert's Third Motion for Continuance, Doc. 61,
             is granted.

      3.     That September 17, 2010, is hereby set as the deadline for submission to the
             Court of any proposed plea agreement.

      4.     That all motions in limine shall be in writing and filed, together with
             proposed instructions, with the Court ten (l0) working days before trial.

      5.     That the jury trial herein for both Defendants shall commence in Sioux Falls,
             South Dakota, on Tuesday, October 19, 2010, with counsel to be present for
             motions in limine at 9:00 A.M., and with the jury to report at 9:30 A.M.

      6.     That the period of delay resulting from such continuance is excluded in
             computing the time within which the trial of the offense for the Defendants
             must commence, as the Court finds that the ends ofjustice served by taking
             such action outweigh the best interests of the public and the Defendants in a
             speedy trial. 18 U.S.c. § 3161 (h)(7)(A).

      Dated this   ()[ day of September, 2010.

                                           BY THE COURT:


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                                          (L wrence L. Piersol
                                           United States District Judge

ATTEST:
JOSEPH HAAS, CLERK.

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                     DEPUTY
